













NUMBERS 13-07-490-CR &amp; 13-07-491-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


______________________________________________________________

	

COREY SATTERWHITE A/K/A 

CORY SATTERWHITE, 	Appellant,


v.



THE STATE OF TEXAS,	Appellee. 

_____________________________________________________________


On appeal from the 214th District Court of Nueces County, Texas.


______________________________________________________________


MEMORANDUM OPINION


	

Before Justices Yañez, Rodriguez, and Benavides


Memorandum Opinion Per Curiam


	Pursuant to plea bargains, appellant, Corey Satterwhite a/k/a Cory Satterwhite,
pleaded guilty to aggravated assault in trial court cause number 07-CR-1414-F(S1),
appealed to this Court as appellate cause number 13-07-00490-CR, and retaliation in trial
court cause number 07-CR-415-F(S1), appealed to this Court as appellate cause number
13-07-00491-CR.  The trial court sentenced appellant in accordance with the terms of the
plea agreements.  Appellant filed pro se notices of appeal in each cause. The trial court's
certifications of appellant's right to appeal in both of these causes shows that each is a
"plea bargain case, and the Defendant has NO right of appeal."  See Tex. R. App. P.
25.2(a)(2). 

	Rule 25.2(a)(2) provides that, in a plea bargain case, a defendant may appeal only
those matters that were raised by written motion filed and ruled on before trial, or after
getting the trial court's permission to appeal.  See id.  We have reviewed the clerk's record
filed in each of these causes, and there is nothing in the records to indicate that either
situation applies in the instant cases.  The records support the trial court's certifications
stating that the sentences in these cases were the result of plea bargains and that
appellant has no right to appeal.  See Dears v. State, 154 S.W.3d 610, 614-15 (Tex. Crim.
App. 2005).

	The Texas Rules of Appellate Procedure provide that an appeal must be dismissed
if the trial court's certification does not show that the defendant has the right of appeal.
Tex. R. App. P. 25.2(d); see Tex. R. App. P. 37.1, 44.3, 44.4.  Accordingly, these appeals
are DISMISSED.  See Chavez v. State, 183 S.W.3d 675, 680 (Tex. Crim. App. 2006) (a
court of appeals, while having jurisdiction to ascertain whether an appellant who
plea-bargained is permitted to appeal by Rule 25.2 (a)(2), must dismiss a prohibited appeal
without further action).  Pending motions, if any, are DISMISSED AS MOOT.

								PER CURIAM

Do not publish.  See Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and

filed this the 27th day of March, 2008. 


